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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    03/19/2021
                                                                                                    CT Log Number 539238519
TO:         Laura Aznavoorian, Litigation Supervisor
            Gallagher Bassett Services, Inc.
            1901 S. Meyers Rd, Suite 200C
            Oakbrook Terrace, IL 60181

RE:         Process Served in Georgia

FOR:        Costco Wholesale Corporation (Domestic State: WA)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  ELIZABETH BABB, PLTF. vs. COSTCO WHOLESALE CORPORATION, ET AL., DFTS.
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # 20C07480S3
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Lawrenceville, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 03/19/2021 at 12:42
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 03/19/2021, Expected Purge Date:
                                                  04/03/2021

                                                  Image SOP

                                                  Email Notification, Laura Aznavoorian laura_aznavoorian@gbtpa.com

                                                  Email Notification, Zois Johnston zjohnston@costco.com

                                                  Email Notification, Maureen Papier maureen_papier@gbtpa.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  289 S. Culver St.
                                                  Lawrenceville, GA 30046
                                                  866-665-5799
                                                  SouthTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / DC




                                                                                                                                     EXHIBIT
                                                                                                                                             A
                Case 1:21-cv-02458-MHC Document 1-1 Filed 06/16/21 Page 2 of 10                               E-FILED IN OFFICE - NS
                                                                                                             CLERK OF STATE COURT
                                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                                   20-C-07480-S3
                                                                                                             10/29/2020 11:51 PM

                                IN THE STATE COURT OF GWINNETT COUNTY
                                                                                                          WERKVF                 RT

                                                 STATE OF GEORGIA

ELIZABETH BABB

                                                                       CIVIL ACTION

                                                                       N UMBER:20-C-07480-S3

                PLAINTIFF

        VS.

COSTCO WHOLESALE

CORPORATION; and JOHN DOE 1-3



                DEFENDANT



                                                       SUMMONS


TO THE ABOVE NAMED DEFENDANT:          Costco Wholesale Corporation. c/o CT Corporation System, Registered Agent,
289 S Culver Street, Lawrenceville, Gwinnett County, Georgia 30046.

You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose
name and address is:
                                        BRANDYN L. RANDALL,ESQ.
                                         Morgan & Morgan Atlanta, PLLC
                                                  P.O. Box 57007
                                           Atlanta, Georgia 30343-1007

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon
you, exclusive of the day of service. If you fail to do so,judgment by default will be taken against you for the relief
demanded in the complaint.



This    30TH          day of            OCTOBER                   ,2020 .

                                                           Richard T. Alexander, Jr.,
                                                           Clerk of State Court


                                                           By




INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.
      Case 1:21-cv-02458-MHC Document 1-1 Filed 06/16/21 Page 3 of 10                      E-FILED IN OFFICE - NS
                                                                                          CLERK OF STATE COURT
                                                                                      GWINNETT COUNTY, GEORGIA
                                                                                              20-C-07480-S3
                                                                                         10/29/2020 11:51 PM
                                                                                           •
                   IN THE STATE COURT OF GWINNETT COUNTY
                                                                                               ERKVF
                              STATE OF GEORGIA

ELIZABETH BABB,

              Plaintiff,
                                                       CIVIL ACTION FILE NO.:20-C-07480-S3
       VS.
                                                       JURY TRIAL DEMANDED
COSTCO WHOLESALE
CORPORATION; and JOHN DOE 1-3,

              Defendants.

                                COMPLAINT FOR DAMAGES

       Plaintiff ELIZABETH BABB sues Defendants and alleges:

                                 Parties, Jurisdiction & Venue



       Plaintiff is a Georgia resident.

                                               2.

       Defendant COSTCO WHOLESALE CORPORATION ("Defendant COSTCO") is a

foreign profit corporation, with a registered agent for service of process, CT Corporation System,

located at 289 S Culver St, Lawrenceville, Georgia 30046 in Gwinnett County. Service of

process can be perfected upon Defendant at that address.

                                               3.

       Pursuant to Article VI, § II, ¶ VI of the Georgia Constitution, and 0.C.G.A § 14-2-510,

venue is proper because Defendant COSTCO maintains its registered office in Gwinnett County.

                                               4.

       Defendant JOHN DOE #1 is the unidentified manager on duty of Defendant COSTCO's

business establishment at the time of the alleged incident at issue in this case. Defendant JOHN
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DOE #1 had the authority and right to control the mode and manner of operations of the business

located at 113 Lincoln Street, Woodstock, GA 30188 on the date of incident and at all relevant

times and as such is a joint tortfeasor. Defendant JOHN DOE #1's authority and control over

operations included, but was not limited to, control over the manner in which safety procedures

and protocols were implemented and enforced. When Defendant JOHN DOE #1 is identified,

Plaintiff will timely amend her pleading and cause a Summons and Complaint to be properly

served.

                                                 5.

          Defendants JOHN DOES #2-3 are unidentified individuals who are potential, third-party,

joint tortfeasors. Defendants JOHN DOES #2-3 either owned, managed, operated, maintained,

serviced, cleaned, secured, or repaired some aspect of Defendant COSTCO's business

establishment and may have contributed to the negligence that injured Plaintiff. If and when

Defendants JOHN DOES #2-3 are identified, Plaintiff will timely amend her pleading and cause

a Summons and Complaint to be properly served.

                                 Facts Common To Counts I & II

                                                 6.

          At all material times, Defendants owned, managed, operated or otherwise provided

services for a retail store located at 113 Lincoln Street, Woodstock, GA 30188, called Costco

Wholesale (the "Prcmiscs").

                                                 7.

          On or about May 18, 2020, Plaintiff was lawfully in the Premises, to purchase goods,

when Plaintiff slipped and fell which caused Plaintiff to be injured (the "Incident").




                                                                                                 2
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                                                  8.

       Defendants negligently caused Plaintiff's injuries.

                                                  9.

       At all relevant times, Plaintiff exercised reasonable care for her own safety.

                                                  10.

       As the direct and proximate result of Defendants' negligence, Plaintiff fell and suffered

bodily injuries; pain and suffering; expenses of medical care, diagnosis, and treatment;

aggravation of a pre-existing condition; loss of consortium; lost capacity for the enjoyment of

life; and lost ability to work; and other economic damages including, without limitation lost

wages. Plaintiff's economic and non-economic damages are continuing in nature and Plaintiff

will continue to incur general and special damages in the future.

                                                  1 1.

        As the direct and proximate result of Defendants' negligence, Plaintiff suffered,

continues to suffer, and may recover, general and special damages as allowed by applicable law.

Plaintiff will continue to incur such losses in the future.

                                    Count I: Active Negligence

                                                  12.

       Plaintiff repeats and realleges paragraphs 1 through 11 above, verbatim.

                                                  13.

        At all material times, Defendants controlled the mode, manner, and means by which they

operated the Costco Wholesale store. Under Defendants' mode, manner, and means of operating

its business, fall risks were reasonably foreseeable.




                                                                                               3
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                                                 14.

        Defendants' chosen mode and manner of operation of the Costco Wholesale store

required that Defendants implement safety procedures to mitigate or eliminate foreseeable risks

of falls and resulting injuries.

                                                 15.

        Defendants owed its customers a duty to use ordinary care to guard against foreseeable

risks of harm caused by Defendants' mode, manner, and means of operating the Costco

Wholesale store.

                                                 16.

        Defendants have a duty to develop, implement, maintain, comply with and enforce a

safety program or appropriate safety measures, including adequate inspection procedures, to

protect customers from the foreseeable risks of harm, including fall risks arising from the

operation of the Costco Wholesale store.

                                                  17.

        Defendants breached their duty to Plaintiff by negligently failing to exercise reasonable

care to protect her from foreseeable risks of harm.

                                                  1 8.

        While operating the Costco Wholesale store, Defendants negligently failed to exercise

reasonable care to protect Plaintiff from foreseeable risks of harm in one or more of the

following ways:

       (i)          Defendants failed to maintain a safety protocol to protect customers from the

                    foreseeable risk of injuries caused by a slip and fall;

                    Defendants' safety program was inadequate to protect customers from the



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                    foreseeable risk of injuries caused by a slip and fall;

       (iii)        Defendants negligently failed to comply with and enforce its inspection

                    protocols or procedures;

       (iv)         Defendants negligently failed to train their employees, contractors, agents

                    and/or representatives to properly implement their safety program;

       (v)          Defendants failed to supervise their employees, contractors, agents and/or

                    representatives to ensure compliance with their safety program; and/or

       (vi)         Defendants failed to warn Plaintiff of the inherent and foreseeable risk of falls

                    and injuries arising from Defendants' chosen mode, manner, and means of

                    operating its business.

                                                  19.

        Defendants' failure to exercise reasonable care in their operations of the Costco

Wholesale store caused a substance to be on the floor which created a fall risk and caused

Plaintiff's fall and resulting injuries.

                                                  20.

        Defendants' negligent operation of the Costco Wholesale store directly and proximately

caused Plaintiff's injuries.

                                                  21.

        Defendant COSTCO is .vicariously liable for the negligent acts and omissions of their

employees, contractors, agents and representatives, committed during the course and scope of

their employment and in furtherance of Defendant COSTCO's business. Defendant COSTCO's

employees, contractors, agents and representatives include, but are not limited to, Defendants

JOHN DOE #1-3.



                                                                                                   5
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                                  Count II: Premises Liability

                                                22.

       Plaintiff repeats and realleges paragraphs 1 through II above, verbatim.

                                                23.

       At all material times, Defendant COSTCO owned, occupied and was otherwise in

possession and control of the Premises.

                                                24.

       At all material times, Defendant COSTCO owed a duty to exercise ordinary care to

maintain the Premises and its approaches in reasonably safe condition.

                                                25.

       Defendants' duty of care included:

              a.   Inspecting the Premises for hazardous conditions including static conditions

                   and passive defects that posed a slip hazard or risk;

               b. Detecting, removing or otherwise remedying hazardous conditions on the

                   Premises floor that posed a slip hazard or risk; and

              c. Adequately warning invitees about specific hazards on the Premises, including

                   slip hazards on the floor, to enable invitees to avoid harm.

                                                26.

       At all material times, Plaintiff was Defendant COSTCO's invitee.

                                                27.

       On the date of incident, Plaintiff slipped on a foreign substance on the floor of the

Premises.




                                                                                               6
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                                               28.

       The foreign substance that caused Plaintiff to slip and fall was on the floor of the

Premises for a sufficient length of time that Defendants knew, or in the exercise of reasonable

care should have known, about the substance on the floor; removed the hazard; and/or warned

invitees of the dangerous condition the substance created.

                                               29.

       Because Defendant COSTCO had notice of the foreign substance on the floor and

controlled the condition of the Premises, Defendant and their employees, contractors, agents and

representatives had a duty to remove the foreign substance from the Premises floor which posed

an unreasonable risk of harm to the safety of customers/invitees including Plaintiff; or to warn

them of the hazard.

                                                30.

       Defendants breached their duty to Plaintiff when they negligently failed to remove the

foreign substance from the Premises floor which posed an unreasonable risk of harm to the

safety of customers/invitees including Plaintiff; or to warn them of the specific hazard.

                                                31.

       As a direct and proximate result of Defendants' negligent failure to remove, remedy or

warn Plaintiff about a known hazard, Plaintiff slipped on the foreign substance and was injured.

                                                32.

       As a direct and proximate result of Defendants' negligent failure to keep the Premises

safe or warn invitees about the hazardous condition created by the foreign substance on the floor

of the Premises, Plaintiff slipped on the foreign substance and was injured.




                                                                                                   7
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WHEREFORE,Plaintiff demands judgment against Defendants and further, Plaintiff prays:

a.      That process issue requiring Defendants to appear and answer Plaintiff's allegations;

b.      That Defendants be served with a copy of Plaintiff's Complaint for Damages and

        Demand for Trial by Jury;

c.      That Plaintiff be granted a trial by jury of twelve persons for all issues so triable;

d.      That Plaintiff recover all damages allowable and recoverable under applicable law in

        amounts to be determined by a jury;

e.      That Plaintiff recover general and special damages in amounts to be proved at trial;

        and

f.      That this Honorable Court order such other and further relief as the Court deems just

        and proper.



     This 29th day of October, 2020.


                                                    MORGAN & MORGAN ATLANTA,PLLC

                                                   /S/4/1274”404-efArgil
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